                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:

SALINE LODGING GROUP, LLC,                                Case No. 21- 47210-mlo

                                                          Chapter 11

          Debtor.                                         Hon. Maria L. Oxholm
_____________________________/

                     UNITED STATES TRUSTEE’S MOTION
                        TO DISMISS CHAPTER 11 CASE

         ANDREW R. VARA, United States Trustee, for his Motion to Dismiss

Chapter 11 Case, states:

Preliminary Statement

         The United States Trustee seeks dismissal of this case because the Debtor

has been in bankruptcy since September 2021 and has made no progress toward

rehabilitation or liquidation. The Debtor, a partially built hotel, is in a state of

disrepair and has recently been cited by the City of Saline for structural code

violations. The efforts to sell this building have been stalled, causing significant

delay and prejudice to creditors. The proposed sales have included a failed bid

procedure process, and self-dealing by the Debtor’s members. The Debtor has no

current means to pay administrative expenses, and there is no equity in the

property that would provide a dividend to unsecured creditors. The Debtor’s estate


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continues to deteriorate, with no likelihood of rehabilitation, and is grossly

mismanaged. Cause exists to dismiss this case. Consequently, this case should be

dismissed under 11 U.S.C. §1112(b)(4)(A) and (B).

Background and Status of Case

       1.    This case was originally filed on September 7, 2021 as a subchapter V

chapter 11 case.

       2.    Eventually, after the principal secured creditor filed an objection to

the Debtor’s status as a subchapter V debtor, the Court ordered that the Debtor

would not be treated as a subchapter V debtor (Docket 57.)

       3.    Although the Debtor never corrected the petition in this case, the

Debtor withdrew the plan it filed as a subchapter V debtor (Docket 63), but only

after the United States Trustee filed a Motion to Convert (Docket 58.)

       4.    The United States Trustee withdrew the Motion to Convert at the

hearing held by the Court on January 20, 2022. At that time, the Court set a

deadline of February 17, 2022 for the Debtor to file an Amended Plan.

       5.    The Debtor filed an Amended Plan and Disclosure Statement on

February 17, 2022.

       6.    The Court set confirmation for March 31, 2022. Confirmation was

adjourned to April 7, 2022.




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        7.   On April 6, 2022, the Debtor filed a Report on Confirmation (the

“Report”) (Docket 137) stating that the Debtor would not be going forward the

next day at the confirmation hearing.       The Report also stated the Debtor would

seek to file a liquidating plan and a motion for sale under 11 U.S.C. § 363 no later

than April 21, 2022.

        8.   On April 21, 2022 a third amended Combined Plan and Disclosure

Statement was filed (the “Liquidating Plan”) (Docket 151), as well as a Motion for

Order Approving Asset Sale Under 11 U.S.C. § 363(b) and Fed. R. Bankr. P. 6004

(the “Sale Motion”) (Docket 150.)

        9.   The Sale Motion included bid procedures and a stalking horse bid.

        10. The deadline to file objections to the Sale Motion was extended to

June 2, 2022 by agreement of the parties and the Court’s Order (Docket 160 and

161.)

        11. On May 18, 2022, parties were informed that the stalking horse bidder

had “backed out” of the auction process.

        12. No replacement stalking horse has been identified as of the time of

this Motion.

        13. The Debtor’s property consists of a partially finished hotel in Saline,

Michigan (the “Property”) and some electrical and lighting equipment that was

delivered to the Debtor’s property in late April.


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      14. According to the schedules and proofs of claim filed in the case, the

taxes and secured debt exceed the apparent value of the property by at least $1

million, if not more.

      15. There is no likelihood that unsecured creditors will receive a

distribution in this case.

      16. The case has now been pending almost ten months.

Law

      17.    Sections 1112(b)(1) and (b)(4)(A) and (b)(4)(B) of the Bankruptcy

Code state in pertinent part:

             (b)(1) Except as provided in paragraph (2) and subsection (c), on
             request of a party in interest, and after notice and a hearing, the court
             shall convert a case under this chapter to a case under chapter 7 or
             dismiss a case under this chapter, whichever is in the best interests of
             creditors and the estate, for cause unless the court determines that the
             appointment under section 1104(a) of a trustee or an examiner is in
             the best interests of creditors and the estate...

             (4) For purposes of this subsection, the term “cause” includes—

                    (A) substantial or continuing loss to or diminution of the estate
                       and the absence of a reasonable likelihood of rehabilitation;

                    (B) gross mismanagement of the estate[;]…




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Continuing Loss to the Estate and Absence of Reasonable Likelihood of
Rehabilitation


        18. No work has been done on the Property to further completion for over

two years, and nothing has been done to the Property during the pendency of this

case.

        19. The Property is deteriorating, causing continuing loss and diminution

to the estate.

        20. Real property taxes continue to accrue on the Property.

        21. The City of Saline recently issued a Violation Letter to the Debtor

concerning the condition of the Property and items that must be addressed in the

next month. The Violation Letter is attached to this Motion as Exhibit 1.

        22. The Debtor has no operations, no income, and no apparent ability to

maintain the Property.

        23. In addition, the Debtor has declared its intention to liquidate and will

cease operations following any liquidation of the Property. Therefore, there is an

absence of reasonable likelihood of rehabilitation.

        24. The Property is not worth the value of the liens against it and there is

no likelihood that unsecured creditors will receive anything in this case.




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      25. The Debtor has no means to pay accrued administrative expenses.

The case is administratively insolvent. The Debtor is not operating and has no

income.

Gross Mismanagement of the Estate

      26. The Debtor has grossly mismanaged the estate. Since the case has

been in bankruptcy, the Debtor has tried to steer the sale of the Property toward

potential purchasers who are willing to enter an arrangement such as a partnership

or joint venture with some of the Debtor’s members. These efforts are self-

dealing and constitute gross mismanagement.

      27. The Debtor’s Sale Motion (Docket 150) included provisions for an

auction with a stalking horse. The stalking horse withdrew from that process

recently.

      28. The Debtor has not offered a replacement stalking horse.

      29. The Debtor has not exposed the Property to the market.

      30. There are other reasons that the Debtor’s Sale Motion cannot be

approved.

      31. The Debtor has wasted over nine months in this bankruptcy trying to

salvage some interest for its members instead of advertising the property and

taking necessary steps to maximize the value of the Property.

      32. This delay has been prejudicial to creditors.


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       33. For these reasons, cause exists under 11 U.S.C. § 1112(b)(4)(A) and

(B) to dismiss this case.

      WHEREFORE, the United States Trustee respectfully requests that the

Court dismiss this case, and for such other relief as may be appropriate in the

circumstances of this case.

                                                     Respectfully submitted,
                                                     ANDREW R. VARA
                                                     UNITED STATES TRUSTEE
                                                     Regions 3 and 9


                                          By:        /s/ Leslie Berg
                                                     Trial Attorney
                                                     Office of the U.S. Trustee
                                                     211 West Fort St - Suite 700
                                                     Detroit, Michigan 48226
                                                     (313) 226-7999
                                                     Leslie.K.Berg@usdoj.gov
Dated: June 1, 2022




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

In re:

SALINE LODGING GROUP, LLC,                                Case No. 21- 47210-mlo

                                                          Chapter 11

          Debtor.                                         Hon. Maria L. Oxholm
_____________________________/

                            ORDER DISMISSING CASE

         This matter came before the court on the Motion of the U.S. Trustee for

dismissal of this case under 11 U.S.C. §§ 1112(b)(4)(A) and (b)(4)(B). For the

reasons stated on the record, the Court finds cause to dismiss this case.

         It is therefore ORDERED that this case is DISMISSED.




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                              UNITED STATES BANKRUPTCY COURT
                            FOR THE EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

In re:                                                              Case No. 21-47210 - mlo

Saline Lodging Group, LLC,                                          Chapter 7

          Debtor.                                                   Hon. Maria L. Oxholm
                                                                /
                               NOTICE OF MOTION TO DISMISS CASE
          The United States Trustee has filed papers with the court to dismiss this case.

       Your rights may be affected. You should read these papers carefully and discuss them
with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you
may wish to consult one.).

       If you do not want the court to dismiss the case, or if you want the court to consider your
views on the motion, within 21 days, you or your attorney must:

          1.       File with the court a written response or an answer, explaining your position at:1

                                            U.S. Bankruptcy Court
                                             211 West Fort Street
                                            Detroit, Michigan 48226

       If you mail your response to the court for filing, you must mail it early enough so the
court will receive it on or before the date stated above.

          You must also mail a copy to:               Leslie K. Berg
                                                      Office of the United States Trustee
                                                      211 West Fort Street, Suite 700
                                                      Detroit, MI 48226

       2.      If a response or answer is timely filed and served, the clerk will schedule a
hearing on the motion and you will be served with a notice of the date, time and location of the
hearing.

       If you or your attorney do not take these steps, the court may decide that you do not
oppose the relief sought in the motion and may enter an order granting that relief.




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    Response or answer must comply with F.R.Civ.P. 8(b), (c) and (e).


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                                                ANDREW R. VARA
                                                UNITED STATES TRUSTEE
                                                Regions 3 and 9
                                      By        /s/ Leslie K. Berg
                                                Trial Attorney
                                                Office of the U.S. Trustee
                                                211 West Fort St - Suite 700
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                                                (313) 226-7999
                                                Leslie.K.Berg@usdoj.gov
Dated: June 1, 2022




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                                 EXHIBIT 1




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                                         Community Development |100 N. Harris St. Saline, Michigan 48176
                                                      Phone: (734) 429-8296 | Fax: (734) 429-5280
                                                                 www.cityofsaline.org




                                        VIOLATION NOTICE

May 20th, 2022

SALINE LODGING GROUP LLC
1250 E. MICHIGAN AVE.
Enforcement Number: EENF22-0181
Inspection Type: INTERIOR REVIEW AND FOLLOW UP
Result: AMMENDED VIOLATION LETTER

Greetings:

Thank you for allowing us the opportunity to review the interior of the building. While the structure
appears to be weather tight, there are some concerns. Please consider this letter to replace the
previous violation letter.

304.2 Exterior surfaces, including but not limited to, doors, door and window frames, cornices,
porches, trim, balconies, decks, and fences, shall be maintained in good condition. Exterior wood
surfaces, other than decay-resistant woods, shall be protected from the elements and decay by
painting or other protective covering or treatment. Peeling, flaking and chipped paint shall be
eliminated, and surfaces repainted. Siding and masonry joints, as well as those between the
building envelope and the perimeter of windows, doors, and skylights, shall be maintained
weather resistant and watertight. Metal surfaces subject to rust or corrosion shall be coated to
inhibit such rust and corrosion, and surfaces with rust or corrosion shall be stabilized and coated
to inhibit future rust and corrosion. Oxidation stains shall be removed from exterior surfaces.
Surfaces designed for stabilization by oxidation are exempt from this requirement.

INSPECTOR COMMENTS: The exterior of a structure
shall be maintained in good repair, structurally sound and
sanitary so as not to pose a threat to the public health,
safety or welfare

    1. Two boarded window bays with no windows on the
       second and third floors, left of the main entry.
       Exposed wood boards/paneling must receive a
       waterproofing treatment such as exterior paint if
       windows will not be installed.

                                                                    Boarded Windows and Building Wrap




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   2. All exposed exterior wood panels must be properly sided
      to be watertight. All exposed exterior Tyvek building
      wrap must be repaired and then properly sided. Building
       wrap is not an approved exterior weather barrier




                                                           Exposed wood and damaged building wrap


   3. All openings to the exterior must be properly sealed.
      HVAC ports under windows must be properly sealed to
      be watertight.




                                                           Popped foam board HVAC closures on 3rd floor


   4. Broken windows must be replaced or boarded secure to prevent unauthorized entry and weather
      infiltration.




Broken First Floor Window                                 Broken First Floor Window




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       Broken Second Floor Window                          Broken Third Floor Window



302.1 Sanitation. Exterior property and premises shall be maintained in a clean, safe and
sanitary condition. The occupant shall keep that part of the exterior property that such
occupant occupies or controls in a clean and sanitary condition.

INSPECTOR COMMENTS:
   5. ROOF TOP- Construction tools, materials and loose mechanical items must be removed from
      the roof.




                                                 Cones, construction materials and machines on roof




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   6. Construction materials stored in the parking lot and on exterior of the building must be
      removed from the site or stored indoors.




                                                        Construction materials in the parking lot


As you review this, please let me know if you have any questions.

Please provide a plan for performing these repairs and maintenance items within 30 days
of this notice (Monday, June 20th).

Thank you.

Barry Wauldron, MAAO
Appraiser / Code Enforcement Officer
City of Saline
Office: (734) 429-8296 x2225
Cell:    (734) 351-6061
Bwauldron@cityofsaline.org




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